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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA

CHRIS L. EDWARDS,            )
                             )
                  Plaintiff, )
                             )
vs.                          )                      Case No. CIV-15-791-C
                             )
STATE OF OKLAHOMA ex rel.    )
OKLAHOMA BUREAU of NARCOTICS )
and DANGEROUS DRUGS CONTROL, )
                             )
                             )
                             )
                  Defendant. )

                       MEMORANDUM OPINION AND ORDER

       Defendant filed a Motion to Dismiss Plaintiff’s claims (Dkt. No. 8). Plaintiff

responded (Dkt. No. 10) and Defendant filed a reply (Dkt. No. 11). The Motion has been

fully briefed and is at issue.

                                     I. BACKGROUND

       Plaintiff alleges that he was a victim of intentional race discrimination when

Defendant failed to promote him to the position of Special Agent in Charge. Plaintiff alleges

that Defendant instead promoted a lesser qualified employee to the position. Defendant

refutes this argument. Defendant filed a Motion to Dismiss Plaintiff’s claims pursuant to

Fed. R. Civ. P. 12(b)(6). Defendant alleges that Title VII requires a plaintiff to plead that the

employee he was replaced by was a non-minority and Plaintiff has failed to do so. Plaintiff

disagrees.

                                 II. STANDARD OF REVIEW
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       The standard for consideration of motions to dismiss brought pursuant to

Fed. R. Civ. P. 12(b)(6) is set forth in the Supreme Court’s decision in Bell Atl. Corp. v.

Twombly, 550 U.S. 544 (2007), and the subsequent decision in Ashcroft v. Iqbal, 556 U.S.

662 (2009). In those cases, the Supreme Court made clear that to survive a motion to

dismiss, a complaint must contain enough allegations of fact which, taken as true, “state a

claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. Plaintiffs must

“nudge[] their claims across the line from conceivable to plausible” to survive a motion to

dismiss. Id. Thus, the starting point in resolving Defendant’s Motion is to examine the

factual allegations supporting each claim that Defendant wishes the Court to dismiss.

                                      III. ANALYSIS

       Defendant argues that Plaintiff has failed to establish a prima facie case because

Plaintiff did not allege in his failure-to-promote claim that he was replaced by a non-

minority. The initial burden of establishing a claim under Title VII is retained by the

claimant. McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973). A plaintiff

alleging a failure-to-promote claim must show: “(1) she was a member of a protected class;

(2) she applied for and was qualified for the position; (3) despite being qualified she was

rejected; and (4) after she was rejected, the position was filled.” Jones v. Barnhart, 349 F.3d

1260, 1266 (10th Cir. 2003). The Tenth Circuit Court of Appeals has made clear that a

person promoted in place of a claimant need not be a non-minority, noting conclusion to the

contrary is dicta. Perry v. Woodward, 199 F.3d 1126, 1138 (10th Cir. 1999). The court in



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Perry articulated a very important policy argument as to why non-minority replacement is

not required.

              The imposition of the inflexible rule advocated by Defendants is
       untenable because it could result in the dismissal of meritorious claims.
       Defendants’ rule would preclude suits against employers who replace a
       terminated employee with an individual who shares her protected attribute
       only in an attempt to avert a lawsuit. It would preclude suits by employers
       who hire and fire minority employees in an attempt to prevent them from
       vesting in employment benefits or developing a track record to qualify for
       promotion. It would also preclude a suit against an employer who terminates
       a woman it negatively perceives as a “feminist” and replaces her with a woman
       who is willing to be subordinate to her male co-workers or replaces an
       African-American with an African-American who is perceived to “know his
       place.” Although each of these situations involves wrongfully-motived
       terminations, under the rule advocated by the Defendants, the terminated
       employee would be unable to meet the prima facie burden. Such a result is
       unacceptable.

Id. at 1137.

       Plaintiff has successfully pleaded a prima facie case of racial discrimination for his

failure-to-promote claim and has provided enough factual allegations to nudge his claim

across the line from conceivable to plausible.

        Defendant also argues that Plaintiff incorrectly pleaded in his Complaint that he is

entitled to economic damages under 42 U.S.C. § 1981(a). Plaintiff has conceded that he is

not entitled to such damages under that specific statute. Plaintiff has pleaded in his

Complaint a cause of action that is sufficient for the relief he seeks, as 42 U.S.C. § 2000e-

5(g) authorizes economic damages in Title VII claims. There is no need to file an amended

complaint for this technical error.



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                                VII. CONCLUSION

      Plaintiff has successfully stated a claim on all claims. Accordingly, Defendant’s

Motion to Dismiss (Dkt. No. 8) is DENIED.

      IT IS SO ORDERED this 24th day of November, 2015.




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